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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                       CASE NO.: 3:10cr43/MCR

TRACY HULL
                                                /


                           STANDING ORDER AND NOTICE TO
                        RETAINED CRIMINAL DEFENSE ATTORNEYS

        Retained criminal defense attorneys are expected to make financial arrangements
that are satisfactory to themselves and sufficient to provide for representation of each
defendant until the conclusion of the defendant's case. Unless this court, within seven
days after arraignment, is notified in writing of counsel's withdrawal because of the
defendant's failure to make satisfactory financial arrangements, this court will expect
retained counsel to represent the defendant until the conclusion of the case. Failure of a
defendant to pay sums owed for attorney's fees or failure of counsel to collect a sum
sufficient to compensate for all the services usually required of defense counsel will not
constitute good cause for withdrawal after the seven-day period has expired. See Local
Rule 11.1(1)(G).
        Every defendant has a right to appeal from any conviction. Thus, the further
expectation of this court and the United States Court of Appeals for the Eleventh Circuit
is that retained counsel, in making satisfactory financial arrangements, will contemplate
services to be rendered upon appeal.1
        In the event retained counsel files a motion to withdraw and a defendant moves the
court to proceed on appeal in forma pauperis and/or for appointment of Criminal Justice


  1
      See 11th Circuit Rules Addendum Four, "Eleventh Circuit Plan under the Crim inal Justice Plan," § (d).
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Act appellate counsel, retained counsel will, in addition to the information required under
Form 4 of the Rules of Appellate Procedure, be required to fully disclose in camera (1) the
attorney's fee agreement and the total amount of such fees and costs paid to date, in cash
or otherwise; (2) by whom fees and costs were paid; (3) any fees and costs remaining
unpaid and the complete terms of agreements concerning payment thereof; (4) the costs
actually incurred to date; and (5) a detailed description of services actually rendered to
date, including a record of the itemized time (to the nearest 1/10 of an hour) for each
service, both in-court and out-of-court, and the total time. Note that matters involving the
receipt of fees from a client are not generally privileged, United States v. Sims, 845 F.2d
1564 (11th Cir. 1988); In re Slaughter, 694 F.2d 1258 (11th Cir. 1982); In re Grand Jury
Proceedings: United States v. Jones, 517 F.2d 666 (5th Cir. 1975). All such information
submitted will be viewed in camera by the court for the purpose of deciding the
defendant's motion, and will be a part of the record (sealed if requested) in this case.
       Except in extraordinary circumstances, this policy will be strictly followed.


       DONE and ORDERED this 6th day of May, 2010.




                                            s/   M. Casey Rodgers
                                          M. CASEY RODGERS
                                          UNITED STATES DISTRICT JUDGE




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